      CASE 0:11-cr-00141-PAM-KMM            Doc. 457     Filed 10/30/15     Page 1 of 7




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,

                                     Plaintiff,
                                                          Crim. No. 11-141 (RHK/JJK)
                                                          MEMORANDUM OPINION
                                                          AND ORDER

v.

Bruce Francis Prevost,

                                    Defendant.


James S. Alexander, Assistant United States Attorney, Minneapolis, Minnesota, for
Plaintiff.

Deborah K. Ellis, Ellis Law Office, St. Paul, Minnesota, for Petitioner Colleen Prevost.


                                     INTRODUCTION

       Defendant’s wife, Colleen Prevost, has filed a Petition (Doc. No. 427) asserting an

interest in $120,598.31 seized from a PNC Bank account in her name, which the Court

ordered forfeited to the Government on April 9, 2015. The Government now moves for

summary judgment on Prevost’s Petition. For the reasons that follow, the Court will grant

the Motion. 1




1
 To avoid confusion, the Court refers to Petitioner Colleen Prevost as “Prevost” and Defendant
Bruce Prevost as “Defendant” throughout this Memorandum Opinion and Order.
     CASE 0:11-cr-00141-PAM-KMM            Doc. 457     Filed 10/30/15    Page 2 of 7




                                    BACKGROUND

       The relevant facts are undisputed. Defendant was charged in a 4-Count Indictment

with securities fraud in connection with investments his companies made in the large Ponzi

scheme orchestrated by Tom Petters. He pleaded guilty shortly after he was indicted and,

as part of his Plea Agreement, acknowledged that his companies earned more than $58

million in fees from 2003 through 2008 as a result of the Petters investments. (See Plea

Agreement ¶ 2.) On November 7, 2013, the Court entered an Order (Doc. No. 303)

forfeiting to the Government all of Defendant’s property derived from (or proceeds of) the

fraud, or otherwise traceable to it; it later amended the Order to include a $58 million

personal money judgment against Defendant. (See Doc. No. 320.) The vast majority of

the forfeiture money judgment remains unsatisfied.

       On April 8, 2015, the Government filed a Motion for a Second Preliminary Order of

Forfeiture, seeking to forfeit the funds at issue here. (Doc. No. 407.) In support, it

submitted a Declaration of FBI Special Agent Brian Kinney, in which he traced the fees

Defendant earned from the Petters fraud to funds used to pay for the construction, between

2006 and 2008, of “a multi-million dollar house” in Palm Beach Gardens, Florida, in which

Defendant and Prevost lived. (Doc. No. 408, ¶ 5.) According to Kinney, the property on

which the home was built originally was purchased by the Prevosts in 1992 for $244,000,

and after several refinancings and the multi-million dollar construction, was mortgaged to

ING Bank (“ING”) for $900,000 in 2009. (Id. ¶ 12; see also Prevost Aff. ¶¶ 6-15.) Then,

in July 2012 – after Defendant was indicted and pleaded guilty – ownership of the home

was transferred solely to Prevost, subject to the ING mortgage and a $500,000 lien held by

                                            -2-
      CASE 0:11-cr-00141-PAM-KMM                Doc. 457      Filed 10/30/15       Page 3 of 7




the bankruptcy receiver for Defendant’s companies. (Kinney Decl. ¶ 14.) In November

2013, Prevost sold the Palm Beach property for $1.6 million and, after paying off the ING

mortgage and the $500,000 bankruptcy lien, $229,933.02 remained; those funds were

deposited into an account Prevost held at PNC Bank. (Id. ¶¶ 14-16; Prevost Aff. ¶ 18.) It

is unclear when the Government learned of these funds, but by the time it seized them in

October 2014, only $120,598.31 remained. (Kinney Decl. ¶ 17.) 2 The Government then

moved to forfeit those funds; the Court granted the Motion, finding that the Government

had “established the requisite nexus” between them “and the offenses to which the

[D]efendant has pled guilty.” (Doc. No. 409 at 1.)

       After publishing notice of the forfeiture, 3 Prevost filed a Petition asserting that she

was entitled to keep the funds as an “innocent owner of the home she and her husband

bought and improved.” (Doc. No. 427 at 2.) The Government contends otherwise and

now seeks summary judgment on the Petition. Its Motion has been fully briefed and is

ripe for disposition.

                                  STANDARD OF REVIEW

       Title 21 U.S.C. § 853 “articulates procedures by which third parties may assert their

interest in forfeited property.” United States v. Timley, 507 F.3d 1125, 1129 (8th Cir.


2
  Prevost apparently used the funds for living expenses and to “pa[y] back loans from friends and
family members who assisted the Prevosts during the pendency of [Defendant’s] criminal
proceedings.” (Doc. No. 427 at 2.)
3
  Following entry of an order of forfeiture, the Government is required to “publish notice of the
order and of its intent to dispose of the [forfeited] property” in order to afford parties asserting an
interest an opportunity to object. 21 U.S.C. § 853(n)(1); see also 28 U.S.C. § 2461(c)
(incorporating § 853(n)(1), which relates to drug crimes, into “all stages of a criminal forfeiture
proceeding”).
                                                 -3-
      CASE 0:11-cr-00141-PAM-KMM            Doc. 457     Filed 10/30/15     Page 4 of 7




2007); accord, e.g., United States v. Puig, 419 F.3d 700, 703 (8th Cir. 2005). The statute

provides, in pertinent part, that “any person, other than the defendant, asserting a legal

interest in property which has been ordered forfeited to the United States may . . . petition

the court . . . to adjudicate the validity of his alleged interest in the property.” 21 U.S.C.

§ 853(n)(2). Such an “ancillary proceeding” is governed by Federal Rule of Criminal

Procedure 32.2(c), see Timley, 507 F.3d at 1129, and “closely resembles a civil action,”

Pacheco v. Serendensky, 393 F.3d 348, 352 (2d Cir. 2004); accord Fed. R. Crim. P. 32.2

advisory committee’s note to subdivision (c).

       Like in a civil action, the Government may move for summary judgment on a

third-party petition under the same auspices as Federal Rule of Civil Procedure 56. Fed.

R. Crim. P. 32.2(c)(1)(B). Hence, the pertinent question is whether, drawing all

reasonable inferences in Prevost’s favor, there is no genuine issue of material fact and the

Government is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Ricci v.

DeStefano, 557 U.S. 557, 586 (2009). The Court views the evidence, and the inferences

that may be reasonably drawn from it, in the light most favorable to Prevost. Beard v.

Banks, 548 U.S 521, 529-30 (2006). No hearing is necessary where the material facts are

undisputed and the petitioner “could not prevail even if [a hearing] were granted.” United

States v. White, 675 F.3d 1073, 1081 (8th Cir. 2012); see also, e.g., Mack v. Dillon, 594

F.3d 620, 622 (8th Cir. 2010) (per curiam) (court need not hold hearing on

summary-judgment motion in the absence of prior request).




                                             -4-
      CASE 0:11-cr-00141-PAM-KMM            Doc. 457     Filed 10/30/15     Page 5 of 7




                                        ANALYSIS

       To prevail in this ancillary proceeding, Prevost “must either demonstrate priority of

ownership at the time of the offense . . . or that [s]he subsequently acquired the property”

she now seeks “as a bona fide purchaser for value.” Timley, 507 F.3d at 1130 (citing 21

U.S.C. § 853(n)(6)(A)-(B)). She proceeds under the first route, attempting to show

priority of ownership, but her effort is unavailing.

       The thrust of Prevost’s argument is that although fraud proceeds were used to fund

the construction of a multi-million dollar home on the property between 2006 and 2008, the

property was initially purchased with untainted funds and further improved with untainted

funds – adding a swimming pool, building a guest house, and the like – between 1992 and

2004. (Prevost Aff. ¶¶ 3-11.) As a result of these additions and market appreciation,

Prevost opines that “the fair market value of [the property] in 2002 was between $500,000

and $600,000.” (Id. ¶ 13; see also Cleveland Aff. ¶ 5.) And because, according to

Prevost, “there was an excess of half a million dollars of equity in the property” at that

time, “prior to any offense conduct by [Defendant],” and “[a]ssuming that [she] was

entitled to only one half of the equity in the property as an innocent spouse,” her “accrued

equity . . . was at least $250,000,” and hence she is entitled to keep all of the funds seized

by the Government. (Mem. in Opp’n 2-5.) There are two key flaws with this argument.

       First, Prevost ignores what actually happened to the funds received from the sale of

the property. She argues she enjoys priority to the remaining funds in the PNC Bank

account because they totaled less than the $250,000 in purported “equity” she possessed,

but in doing so she overlooks that the rest of the $1.6 million received from the sale of the

                                             -5-
      CASE 0:11-cr-00141-PAM-KMM            Doc. 457     Filed 10/30/15    Page 6 of 7




house had already been expended by the time of the Government’s seizure. Indeed,

$500,000 was used to pay off the lien Prevost agreed to as part of the bankruptcy

proceedings; nearly $900,000 was used paid off the ING mortgage entered into by Prevost

and Defendant; and at least some portion of the remainder was used to cover her living

expenses and to “pa[y] back loans from [Prevost’s] friends and family members.” (Doc.

No. 427 at 2.) In other words, more than $1.4 million has already been expended for

Prevost’s benefit, which far outstrips the property’s so-called “untainted” value of

$500,000-$600,000 or her “accrued equity [of] at least $250,000.” Thus, any priority of

her (alleged) equity has already been extinguished, and she cannot establish priority in the

small remaining balance seized by the Government.

       Second, when both tainted and untainted funds are expended in connection with real

property, the Government is entitled to forfeit that portion of the property for which tainted

funds were expended. See, e.g., United States v. Real Property and Premises Located at

216 Kenmore Ave., 657 F. Supp. 2d 1060, 1066 (D. Minn. 2009) (Kyle. J.) (collecting

cases). Both Prevost and the Government recognize this proportionality principle. (See

Gov’t Mem. at 6-8; Mem. in Opp’n at 3-4.) And although the parties dispute the

percentage of untainted versus tainted funds used between 2006 and 2008 for construction

on the property, even using Prevost’s more generous estimate, 69% of the construction

costs were paid with tainted funds and 31% of the funds were untainted. (See Mem. in

Opp’n at 4.) This means Prevost was entitled to, at most, $496,000 (31%) of the $1.6

million sale price – but satisfaction of the ING mortgage and bankruptcy lien far exceeded

that amount. In fact, even if the Court were to ignore the nearly $1.4 million used for

                                            -6-
      CASE 0:11-cr-00141-PAM-KMM            Doc. 457   Filed 10/30/15    Page 7 of 7




those purposes (to Prevost’s benefit) and focus solely on the funds remaining after the

mortgage and lien were paid off – $ 229,933.02 – Prevost would still be entitled to no more

than 31% of that amount, or $71,279.24. Yet, by the time the Government effected its

seizure, she had already spent much more. The Court concludes, therefore, that she has no

priority of interest in the funds seized.

                                       CONCLUSION

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

ORDERED that the Government’s Motion for Summary Judgment and Final Order of

Forfeiture (Doc. No. 438) is GRANTED, and Prevost’s Petition (Doc. No. 427) is

DISMISSED WITH PREJUDICE. It is further ORDERED that all right, title, and

interest in the $120,598.31 seized from PNC Bank account 12-1418-1868 is forfeited to

and vested in the United States, and the funds shall be disposed of by the United States in

accordance with law.

       LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: October 30, 2015                                  s/ Richard H. Kyle
                                                        RICHARD H. KYLE
                                                        United States District Judge




                                            -7-
